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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 EQUAL EMPLOYMENT OPPORTUNITY
 COMMISSION,

              Plaintiff,
                                                                    Case No. 2:17-CV-2453-JAR-JPO
              v.

 UPS GROUND FREIGHT, INC., d/b/a UPS
 FREIGHT, et al.,

              Defendants.


                                    MEMORANDUM AND ORDER

        Plaintiff Equal Employment Opportunity Commission (“EEOC”) filed this suit against

Defendant UPS Ground Freight, Inc. (“UPS Freight”), alleging: 1) it violated the Americans with

Disabilities Act (“ADA”) by discriminating against Thomas Diebold on the basis of his disability

(Count I); and 2) it has a facially discriminatory policy against disabled drivers in its current

collective bargaining agreement with Defendant Teamsters National UPS Freight Negotiating

Committee (the “CBA”) (Count II). This matter is before the Court on the EEOC’s Motion for

Judgment on the Pleadings on Count II, brought under Fed. R. Civ. P 12(c) (Doc. 13). The

matter is fully briefed and the Court is prepared to rule. For the reasons stated below, the Court

grants the EEOC’s motion for judgment on the pleadings on Count II.

I.      Legal Standard

        The Court reviews a Rule 12(c) motion under the same standard that governs a Rule

12(b)(6) motion.1 To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint




        1
          Ward v. Utah, 321 F.3d 1263, 1266 (10th Cir. 2003) (citing Ramirez v. Dep’t of Corr., 222 F.3d 1238,
1240 (10th Cir. 2000)).
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must present factual allegations, assumed to be true, that “raise a right to relief above the

speculative level” and must contain “enough facts to state a claim to relief that is plausible on its

face.”2 “[T]he complaint must give the court reason to believe that this plaintiff has a reasonable

likelihood of mustering factual support for these claims.”3 The plausibility standard does not

require a showing of probability that a defendant has acted unlawfully, but requires more than “a

sheer possibility.”4 “[M]ere ‘labels and conclusions,’ and ‘a formulaic recitation of the elements

of a cause of action’ will not suffice; a plaintiff must offer specific factual allegations to support

each claim.”5 Finally, the Court must accept the nonmoving party’s factual allegations as true

and may not dismiss on the ground that it appears unlikely the allegations can be proven.6

        The Supreme Court has explained the analysis as a two-step process. For the purposes of

a motion to dismiss, the Court “must take all the factual allegations in the complaint as true, [but]

we ‘are not bound to accept as true a legal conclusion couched as a factual allegation.’”7 Thus,

the Court must first determine if the allegations are factual and entitled to an assumption of truth,

or merely legal conclusions that are not entitled to an assumption of truth.8 Second, the Court

must determine whether the factual allegations, when assumed true, “plausibly give rise to an

entitlement to relief.”9 “A claim has facial plausibility when the plaintiff pleads factual content




        2
            Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).
        3
            Ridge at Red Hawk, L.L.C. v. Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007).
        4
            Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
        5
            Kan. Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1214 (10th Cir. 2011) (quoting Twombly, 550 U.S. at
555).
        6
            Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556).
        7
            Id.
        8
            Id. at 679.
        9
            Id.




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that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.”10

         If matters outside the complaint are reviewed, the Court generally must convert the

motion to a Rule 56 motion for summary judgment.11 However, the Court may consider

documents that are referred to in the complaint.12 Because the EEOC attached the CBA to the

Amended Complaint, the Court may refer to it in resolving this motion without converting it to a

motion for summary judgment.

         A motion for judgment on the pleadings should not be granted unless the movant has

established that there are no material facts to be resolved and that the movant is entitled to

judgment as a matter of law.13

II.      Factual Allegations

         Unless stated otherwise, the following material facts are alleged in the Amended

Complaint and undisputed by UPS Freight.14 The Court will draw all reasonable factual

inferences in favor of the nonmoving party, UPS Freight.

         UPS Freight is a party to a collective bargaining agreement with Teamsters National UPS

Freight Negotiating Committee for the period August 1, 2013 through July 31, 2018. It was

ratified in January 2014 and the term is due to expire at the end of this month. Article 21.3 of the

CBA, titled “Medical Disqualification,” states:

                     (a)     A driver who is judged medically unqualified to drive, but
                     is considered physically fit and qualified to perform other inside

         10
              Id. at 678.
         11
              Fed. R. Civ. P. 12(d).
         12
              See GFF Corp. v. Associated Wholesale Grocers, 130 F.3d 1381, 1384–85 (10th Cir. 1997).
         13
              Colony Ins. v. Burke, 698 F.3d 1222, 1228 (10th Cir. 2012).
       14
          Because the motion only pertains to Count II, the Court will not discuss the factual allegations regarding
Thomas Diebold.




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                    jobs, will be afforded the opportunity to displace the least senior
                    full-time or casual inside employee at such work until he/she can
                    return to his/her driving job. However, if the displacement of a
                    full-time employee with a CDL would negatively affect the
                    employer’s operations, the medically disqualified driver may only
                    displace a casual inside employee. “Red-circled” non-CDL
                    cartage employees shall not be subject to displacement in this
                    process. While performing the inside work, the driver will be paid
                    ninety percent (90%) of the appropriate rate of pay for the full-time
                    classification of work being performed. The Company shall
                    attempt to provide eight (8) hours of work, if possible, out of
                    available work.15

Article 21.2, titled “Leave of Absence,” states:

                    (a)    When an employee in any job classification requiring
                    driving has his/her operating privilege or license suspended or
                    revoked for reasons other than medical disqualification or those for
                    which the employee can be discharged by the Company, a leave of
                    absence without loss of seniority, not to exceed two (2) years, shall
                    be granted for such time as the employee’s operating license has
                    been suspended or revoked. The employee will be given available
                    work opportunities to perform non-CDL required job functions.16

       Under Article 21.2(a), UPS Freight provides non-CDL required (non-driving) work at the

full rate (100%) of pay to drivers whose CDLs are suspended or revoked for non-medical

reasons, including convictions for driving while intoxicated. Yet under Article 21.3(a), UPS

Freight provides full-time or casual inside work at only 90% of the rate of pay for the full-time

classification of work being performed by drivers who become unable to drive due to medical

disqualifications, including drivers who are individuals with disabilities within the meaning of

the ADA.

III.   Discussion

       Section 102 of the ADA17 states, in relevant part:


       15
            Doc. 4, Ex. A at 38.
       16
            Id. at 37.
       17
            42 U.S.C. § 12112.




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                   a)      “No covered entity shall discriminate against a qualified
                   individual on the basis of disability in regard to … employee
                   compensation, job training, and other terms, conditions, and
                   privileges of employment.”
                   b)      As used in subsection (a) of this section, the term
                   “discriminate against a qualified individual on the basis of
                   disability” includes—
                           (2) Participating in a contractual or other arrangement or
                               relationship that has the effect of subjecting a covered
                               entity’s qualified applicant or employee with a
                               disability to the discrimination prohibited by this
                               subchapter.

       The EEOC contends the CBA establishes a prima facie case of a discriminatory policy

because it pays drivers disqualified for non-medical reasons 100% of pay rate, while paying

drivers disqualified for medical reasons 90% of the appropriate rate of pay for the work being

performed. UPS Freight responds that judgment on the pleadings is inappropriate because:

1) the EEOC relies upon a selective and erroneous interpretation of the CBA; 2) the CBA

contains ambiguities that preclude judgment; 3) “whether the CBA works to the benefit or

detriment of a medically disqualified driver depends entirely on the particular factual scenario in

each case,” which requires the Court to engage in a case-by-case analysis to determine if an

employee has been discriminated;18 and 4) the CBA does not limit the opportunities available to

individuals with disabilities, but provides additional opportunities beyond what the ADA

requires, citing Eckles v. Consolidated Rail Corp..19 The Court finds these arguments

unpersuasive.

       First, the Court finds Articles 21.2 and 21.3 plain and unambiguous. Article 21.3(a)

plainly states medically disqualified workers who choose to avail themselves of this opportunity

will receive 90% of pay. It is immaterial whether medically disqualified drivers have other


       18
            Doc. 20 at 6.
       19
            94 F.3d 1041 (7th Cir. 1996).




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options; paying employees less because of their disability is discriminatory under any

circumstance. Accordingly, the EEOC’s interpretation of Articles 21.2 and 21.3 was not

erroneously selective.

       Second, the alleged ambiguities that preclude judgment in the EEOC’s favor are attempts

to create confusion where none exists. UPS Freight points out that Article 21.3 concerns “inside

jobs” and “inside work” and does not necessarily concern the same job position. It then proceeds

to give a dictionary definition of the word “afford” to explain how Article 21.3(a) constitutes an

additional opportunity rather than a limitation. But these arguments are red-herrings because

they fail to address the pertinent issue—pay at less than 100% based on disability.

       Third, a case-by-case impact analysis is not required to show that a policy is facially

discriminatory. At the liability stage in a pattern-and-practice claim, the plaintiff must show that

unlawful discrimination is part of the employer’s “standard operating procedure.”20 Under this

standard, the government must establish a prima facie case of a discriminatory policy, but it is

not required to offer evidence that each individual who may seek relief was a victim of the

policy.21 Articles 21.2 and 21.3 speak for themselves and are facially discriminatory. The Court

does not need to examine when the CBA works in favor or against a medically disqualified

driver for the EEOC to meet its burden.

       Fourth, UPS Freight’s reliance upon Eckles is misplaced. In Eckles, the plaintiff

demanded certain accommodations for his epilepsy that infringed on the seniority rights of other

employees under the union’s collective bargaining agreement.22 The employer allowed the




       20
            Jones v. U.P.S., Inc., 502 F.3d 1176, 1188 (10th Cir. 2007).
       21
            Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 358–360 (1977).
       22
            Id. at 1043.




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plaintiff to “bump” a more senior employee, but later rescinded the agreement.23 The plaintiff

then sued his employer and the union, claiming they violated the ADA by refusing to provide a

reasonable accommodation for his disability.24 The court ruled against the plaintiff because the

ADA does not require “bumping rights” for individuals, thus the employer could not be liable for

failing to provide something that is not compelled by law.25 Eckles is inapposite because it does

not deal with paying less based on disability classification, nor does it deal with a facially

discriminatory bumping policy.

         The Supreme Court has held “[a] benefit that is part and parcel of the employment

relationship may not be doled out in a discriminatory fashion, even if the employer would be free

. . . not to provide the benefit at all.”26 This means if UPS Freight is going to provide bumping

privileges, then it cannot do so in a discriminatory way. UPS Freight has not provided a

legitimate reason for paying medically disqualified drivers performing “inside work” less than

those disqualified for other reasons under the CBA, and therefore has failed to overcome the

EEOC’s prima facie case of discrimination.

IV.      Remedies

         “A court’s finding of [a discriminatory] pattern or practice justifies an award of

prospective relief.”27 Such relief could include an “injunctive order against continuation of the


         23
              Id. at 1044.
         24
              Id.
         25
              Doc. 20 at 10; Eckles, 94 F.3d at 1049–51.
         26
           Hishon v. King & Spalding, 467 U.S. 69, 75 (1984) (holding that if an employer provides its employees
with benefits it is not required to furnish, the benefit “may not be granted or withheld in a discriminatory fashion,”
and an employer cannot escape liability for offering one benefit on a discriminatory basis simply because it
distributes other benefits on a nondiscriminatory basis); see also Trans World Airlines, Inc. v. Thurston, 469 U.S.
111, 121 (1985) (holding that if TWA chose to grant some captains the “privilege” of bumping less senior flight
engineers, it may not deny the opportunity to other captains on the basis of age. Such transfer policy was
“discriminatory on its face.”)
         27
              Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 361 (1977).




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discriminatory practice.”28 To obtain a permanent injunction, the movant must show: “1) that it

has suffered an irreparable injury, 2) that remedies available at law, such as monetary damages,

are inadequate to compensate for that injury; 3) that, considering the balance of hardships

between the plaintiff and defendant, a remedy in equity is warranted; and 4) that the public

interest would not be disserved by a permanent injunction.”29

        The Court finds the EEOC has demonstrated its claim warrants a permanent injunction.

Medically disqualified drivers who availed themselves of bumping rights have suffered

irreparable injuries by receiving 10% less pay than their colleagues who were disqualified for

nonmedical reasons. Monetary damages are inadequate to compensate for that injury because

they cannot prevent future harm. The only “hardship” UPS Freight will suffer is paying

medically disqualified drivers more (100% pay rate), which is the same rate it already pays its

other, non-disabled employees. The public interest will not be harmed by a permanent injunction

prohibiting UPS Freight from discriminating on the basis of disability. The CBA expires July

31, 2018, at which time the parties to the agreement may renegotiate. Given that a new CBA

will be implemented, permanent injunctive relief is warranted to prevent the same discriminatory

practice under a future agreement.

V.      Conclusion

        The Court finds the EEOC has made a prima facie case that the CBA is discriminatory.

UPS Freight has not overcome this showing. Therefore, the Court hereby grants the subsequent

injunctive relief and declares as follows:




        28
             Id.
         29
            Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 141 (2010) (quoting eBay Inc. v. MercExchange,
L.L.C., 547 U.S. 388, 391 (2006)).




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         1. The CBA in dispute violates 42 U.S.C. § 12112 by discriminating against drivers with

              disabilities by (1) limiting, segregating, or classifying drivers because of disability

              adversely affecting the opportunities or status of disabled drivers and (2) using

              standards, criteria, or methods of administration that have the effect of discrimination

              on the basis of disability;

         2. The CBA in dispute violates 42 U.S.C. § 12112(b)(2) by participating in a contractual

              relationship that expressly discriminates against medically disabled UPS Freight

              drivers;

         3. UPS Freight, its officers, agents, servants, employees, attorneys, and all persons in

              active concert or participation with it, are permanently enjoined from discriminating

              on the basis of disability in violation of 42 U.S.C. § 12112(a) by enforcing Article

              21.3 as written30; and

         4. UPS Freight and the Teamsters National UPS Freight Negotiating Committee are

              permanently enjoined from negotiating and ratifying terms of the next collective

              bargaining agreement which would discriminate on the basis of disability in violation

              of 42 U.S.C. § 12112(a).

         IT IS THEREFORE ORDERED BY THE COURT that the EEOC’s Motion for

Judgment on the Pleadings on Count II (Doc. 13) is granted.

         IT IS SO ORDERED.

         Dated: July 27, 2018




         30
           The Court declines the EEOC’s request to rewrite this provision. See Atlantic Richfield Co. v. Farm
Credit Bank of Wichita, 226 F.3d 1138, 1152 (10th Cir. 2000) (“Court’s duty is to interpret and enforce contracts as
written between the parties, not to rewrite or restructure them.”). Given the CBA’s impending expiration, the parties
may negotiate language that complies with the injunction, or may opt to remove the provision altogether.




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                                  S/ Julie A. Robinson
                                  JULIE A. ROBINSON
                                  CHIEF UNITED STATES DISTRICT JUDGE




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